Case 2:20-cv-02892-SHL-tmp Document 361-14 Filed 11/01/22 Page 1 of 3     PageID 8292




                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF TENNESSEE
                         WESTERN DIVISION

   AMERICAN SPIRIT AND CHEER
   ESSENTIALS, INC. by HEIDI
   WEBER, ROCKSTAR
   CHAMPIONSHIPS, LLC by DAVID
   OWENS, JEFF & CRAIG CHEER,                     CIVIL ACTION
   LLC, d/b/a JEFF AND CRAIG                      FILE NUMBER:
   CAMPS, by CRAIG HALLMARK,                      2:20-cv-02782-SHL-tmp
   MARK LUKENS and KATHLEEN
   LUKENS, and ASHLEY HAYGOOD,                    CERTIFICATE OF
   Individually and on Behalf of all Others       CONSULTATION
   Similarly Situated,

                            Plaintiffs,
   v.

   VARSITY BRANDS, LLC, BSN
   SPORTS, LLC, VARSITY SPIRIT
   LLC, HERFF JONES, LLC, VARSITY
   BRANDS HOLDING CO., INC.,
   VARSITY SPIRIT FASHION &
   SUPPLIES, LLC, U.S. ALL STAR
   FEDERATION, INC., USA
   FEDERATION FOR SPORT
   CHEERING, d/b/a USA CHEER,
   VARSITY INTROPA TOURS, LLC
   and JEFF WEBB,

                            Defendants.




                                              1
Case 2:20-cv-02892-SHL-tmp Document 361-14 Filed 11/01/22 Page 2 of 3            PageID 8293




         So let this affirm that after consultation between the parties to the controversy,

   the parties are unable to reach an accord as to all issues.

         The consultation was had between:

                Matt Mulqueen;

                Eric Hazoury;

                Steven Kaiser;

                Paul Coggins,

                Grady Garrison;

                Brendan Gaffney;

                Niccole Riccio;

                Robert Falanga; and

                Kobelah Svensen Bennah

   via email on October 18, 2022.




                              [signature on subsequent page]




                                              2
Case 2:20-cv-02892-SHL-tmp Document 361-14 Filed 11/01/22 Page 3 of 3   PageID 8294




                                            Respectfully submitted,


   This 1st day of November 2022.
                                            s/ Kobelah Svensen Bennah
                                            Kobelah Svensen Bennah
                                            Attorney Bar No. 378113

   LAW OFFICES
   FALANGA & CHALKER
   11200 Atlantis Pl #C
   Alpharetta, GA 30022
   Phone: (770) 955-0006
   Fax: (770) 955-2123
   robert@falangalaw.com
   kobelah@falangalaw.com




                                        3
